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 Attorneys for Plaintiff
 IPAP, LLC
 DBA Aspen Dental of Cache Valley

                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF UTAH


 IPAP, LLC, DBA ASPEN DENTAL OF
 CACHE VALLEY
                                                                 COMPLAINT
                Plaintiff,
                                                      Case No.
 v.
                                                      DEMAND FOR JURY TRIAL
 ASPEN DENTAL MANAGEMENT, INC.,

                Defendant.


        Plaintiff IPAP, LLC, DBA Aspen Dental of Cache Valley (AD Cache Valley), by and

through its undersigned counsel and pursuant to Fed. R. Civ. P. 7(a)(1), hereby submits this

Complaint against Defendant Aspen Dental Management, Inc. (AD Management).

                                        THE PARTIES

        1.     AD Cache Valley is a Utah limited liability company having a place of business at

170 E 1400 N, Logan, Utah 84341.
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        2.      On information and belief, AD Management is a Delaware corporation having a

place of business at 281 Sanders Creek Parkway, East Syracuse, New York 13057.

                                 JURISDICTION AND VENUE

        3.      This is a civil action for unfair competition, trademark infringement arising under

the common law and the Lanham Act, and in particular 15 U.S.C. § 1125, as well as deceptive

trade practices under Utah law. Accordingly, this Court has subject matter jurisdiction over this

action pursuant to at least 15 U.S.C. § 1121(a) and 28 U.S.C. §§ 1331, 1332, 1338(a) and (b),

and 1367.

        4.      This Court is empowered to exercise supplemental jurisdiction over claims under

the common law of the State of Utah pursuant to 28 U.S.C. § 1338(b) and § 1367(a).

        5.      This Court has personal jurisdiction over AD Management under Utah Code

§ 78B-3-205 because AD Cache Valley’s claims arise from AD Management’s transacting

business in this state, contracting to supply services in this state, and causing injury to AD Cache

Valley in this state.

        6.      AD Management has contracted to supply services and is promoting services

within the State of Utah, including within the Northern District. AD Management plans to open

an office providing dental services, using the name and mark ASPEN DENTAL, at 4099

Riverdale Road, Riverdale, Utah 84405. A true and correct copy of a page from AD

Management’s website, advertising its planned Riverdale location, is attached hereto as

Exhibit A.




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       7.      AD Management has advertised that it plans to expand and open another office in

the Northern District, in Cache Valley, Utah. A true and correct copy of an advertisement from

AD Management, promoting the upcoming opening of a Logan, Utah, location, is attached

hereto as Exhibit B.

       8.      AD Management has injured AD Cache Valley and committed acts of

infringement and other misconduct, including by maintaining a website promoting AD

Management’s identical and highly similar services under the ASPEN DENTAL name and mark,

which AD Cache Valley owns, to consumers in the Northern District of Utah. Further, AD

Management has held itself out as AD Cache Valley and deliberately and willfully attempted to

trade on the goodwill of AD Cache Valley, including by using AD Cache Valley’s address and

phone number when marketing the launch of an office in Logan, Utah. In addition, AD

Management has injured AD Cache Valley, and manifested actual confusion and the inevitability

of consumer confusion, by using AD Cache Valley’s address and phone number when marketing

the launch of an office in Logan, Utah.

       9.      Venue is proper in the Northern District of Utah in accordance with 28 U.S.C.

§ 1391(b)(2) at least because a substantial part of the events and harm giving rise to AD Cache

Valley’s claims occurred in the Northern District of Utah.

                                          BACKGROUND

       10.     AD Cache Valley has developed and maintains a reputation for providing high-

quality dental and orthodontic services, as well as other related goods and services.




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       11.      For years prior to the August 1, 2006, first use date claimed by AD Management

in its U.S. Trademark Registration No. 3304705, and since at least 1999, AD Cache Valley has

used the mark ASPEN DENTAL continuously for the marketing, sale, and provision of its

dental, orthodontic, and other dentistry-related products and services in United States interstate

commerce. A true and correct copy of an excerpt from the Logan Business License Clerk,

obtained November 8, 2012, and showing AD Cache Valley’s business license from 1999, is

attached hereto as Exhibit C.

       12.      AD Cache Valley markets, sells, and provides dental, orthodontic, and other

dentistry-related products and services using the ASPEN DENTAL name and mark at its

location in Cache Valley, including to consumers in the Northern District of Utah.

       13.      In addition to other marketing channels, AD Cache Valley markets its dental,

orthodontic, and other dentistry-related products and services using the ASPEN DENTAL mark

utilizing the Internet, including AD Cache Valley’s website accessible at aspendds.com and via

third-party websites. A true and correct copy of the “Contact Us” page from AD Cache Valley’s

website, showing representative use of the ASPEN DENTAL name and mark, is attached hereto

as Exhibit D.

       14.      In addition to other marketing channels, AD Cache Valley markets its dental,

orthodontic, and other dentistry-related products and services using the ASPEN DENTAL mark

on social media platforms.

       15.      AD Cache Valley has invested substantial time, effort, and expense in extensive

promotion throughout Cache Valley of the goods and services provided under its ASPEN


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DENTAL mark. As a result, considerable goodwill has attached to the ASPEN DENTAL mark

to AD Cache Valley’s benefit.

       16.     By virtue of AD Cache Valley’s continuous use in commerce of its ASPEN

DENTAL mark in connection with its dental, orthodontic, and other dentistry-related products

and services, such products and services have become well and favorably known to the relevant

trade and public, particularly in Cache Valley.

       17.     The ASPEN DENTAL mark is representative of AD Cache Valley’s reputation

for producing and providing high quality products and services and symbolizes the goodwill of

AD Cache Valley, which is invaluable.

       18.     AD Cache Valley’s ASPEN DENTAL mark is inherently distinctive as applied to

AD Cache Valley’s goods and services and is entitled to strong protection.

              AD MANAGEMENT’S INFRINGEMENT AND MISCONDUCT

       19.     On information and belief, AD Management markets, sells, and provides dental,

orthodontic, and other dentistry-related products and services using the identical ASPEN

DENTAL name and mark.

       20.     Dental, orthodontic, and other dentistry-related products and services marketed,

sold, and provided using the ASPEN DENTAL name and mark are marketed utilizing the

Internet at least at aspendental.com, which upon information and belief is owned by AD

Management.

       21.     A true and correct copy of a page from the aspendental.com website, showing

representative use of the ASPEN DENTAL name and mark to market and sell dental,


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orthodontic, and other dentistry-related products and services in the Northern District of Utah is

attached hereto as Exhibit A.

       22.     AD Cache Valley has priority of use in the ASPEN DENTAL mark. AD Cache

Valley has continuously used the ASPEN DENTAL mark to market, sell, and provide its dental,

orthodontic, and other dentistry-related products and services in Cache Valley for years prior to

the date on which AD Management began marketing, selling, and distributing its competing

dental, orthodontic, and other dentistry-related products and services in the United States.

       23.     On information available from U.S. Trademark Registration No. 3304705 for the




composite mark                  , which lists on its face AD Management as its owner, and belief,

AD Management first used the ASPEN DENTAL name and mark in connection with “cosmetic

dentistry; dentistry” services on January 30, 2011.

       24.     AD Management has been aware of AD Cache Valley since at least October 18,

2012. On October 18, 2012, counsel for AD Management sent to AD Cache Valley a demand

letter alleging that AD Cache Valley’s use of its ASPEN DENTAL name and mark infringed AD

Management’s rights in the same mark. A true and correct copy of the demand letter is attached

hereto as Exhibit E.

       25.     AD Management has admitted that AD Cache Valley’s “rights in the area where it

is doing business appear to be superior to [AD Management’s] rights.” A true and correct copy

of correspondence from a representative of AD Management on November 13, 2012, in which

the above quote appears, is attached hereto as Exhibit F.


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       26.     Though AD Management initially expressed interest “in purchasing [AD Cache

Valley’s] rights to the name,” AD Management never completed such a purchase.

       27.     AD Cache Valley’s senior common law rights in the ASPEN DENTAL name and

trademark are valid and subsisting, including in the Northern District of Utah, and are

particularly strong in Cache Valley.

       28.     AD Management plans to expand its offerings to the Northern District of Utah,

including in Cache Valley. AD Management has advertised on its own website that a location in

Riverdale, Utah, is “opening soon.” A true and correct copy of a page from AD Management’s

website advertising the Riverdale, Utah, location is attached hereto as Exhibit G. AD

Management has further advertised with a local news outlet in Cache Valley, including on its

third-party website, that another location in Logan, Utah, is also “coming soon.” A true and

correct copy of a page from the third-party website advertising the Logan, Utah, location is

attached hereto as Exhibit B.

       29.     When advertising AD Management’s planned Logan, Utah, location, the listed

address and phone number, 170 E 1400 N, Logan, Utah 84341, 435-557-8802, are those of AD

Cache Valley, not of AD Management. A true and correct copy of the Google Maps listing for

AD Cache Valley, showing its address and phone number, and for comparison with the address

and phone number held out in AD Management’s advertisement in Exhibit B as being those of

AD Management, is attached hereto as Exhibit H.

       30.     Links to social media accounts held out by AD Management in the advertisement

of Exhibit B as being owned and controlled by AD Management, including an instruction to


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“Visit us at:” the linked accounts, resolve to social media accounts actually owned and controlled

by AD Management.

       31.     AD Management has misrepresented the origin of its services and commercial

activities by representing that AD Cache Valley’s address, phone number, and social media

accounts belong to AD Management, as shown in Exhibit B.

       32.     In the alternative, and should AD Management deny that the misrepresentations in

AD Management’s advertisement originate from a source other AD Management, the conflation

of AD Cache Valley with AD Management when holding out the identified address, phone

number, and social media accounts as those of AD Management demonstrates that confusion,

mistake, and deception regarding the affiliation, connection, or association of AD Management

with AD Cache Valley as to the origin, sponsorship, or approval of AD Management’s goods,

services, and commercial activities by AD Cache Valley is likely and has occurred.

       33.     AD Management’s plans to expand into markets where AD Management has

admitted that AD Cache Valley has priority in the ASPEN DENTAL name and mark are

knowing, willful, intentional, and malicious.

       34.     The dental, orthodontic, and other dentistry-related products and services

marketed, sold, and provided by AD Management using the ASPEN DENTAL mark are

identical or closely related to the dental, orthodontic, and other dentistry-related products and

services marketed, sold, and provided by AD Cache Valley using its ASPEN DENTAL mark.

       35.     AD Management admitted that its services are identical to those of AD Cache

Valley in its October 18, 2012, letter, as shown in Exhibit E.


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       36.     The channels of distribution for the dental, orthodontic, and other dentistry-related

products and services marketed, sold, and provided by AD Management using the ASPEN

DENTAL mark are identical or closely related to the channels of distribution for the dental,

orthodontic, and other dentistry-related products and services marketed, sold, and provided by

AD Cache Valley using its ASPEN DENTAL mark.

       37.     AD Management’s dental, orthodontic, and other dentistry-related products and

services marketed, sold, and provided using the ASPEN DENTAL mark are, or would be,

directed to the same customer segment of the consuming public as AD Cache Valley’s dental,

orthodontic, and other dentistry-related products and services marketed, sold, and provided using

its ASPEN DENTAL mark.

       38.     AD Management markets and offers provision of dental, orthodontic, and other

dentistry-related products and services using the ASPEN DENTAL mark to consumers

throughout the United States and in the Northern District of Utah, including on the Internet and

using social media.

       39.     AD Management’s ASPEN DENTAL mark is identical or substantially similar to

AD Cache Valley’s ASPEN DENTAL mark in sound, appearance, connotation, and commercial

impression.

       40.     AD Management admitted that the APSEN DENTAL mark is identical to AD

Cache Valley’s ASPEN DENTAL mark in its October 18, 2012, letter, as shown in Exhibit E.




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       41.     AD Management’s ASPEN DENTAL mark is identical in spelling, pronunciation,

number of syllables, appearance, meaning, and commercial impression to AD Cache Valley’s

ASPEN DENTAL mark.

       42.     AD Management’s ASPEN DENTAL mark is confusingly similar to AD Cache

Valley’s ASPEN DENTAL mark.

       43.     AD Management’s use of the ASPEN DENTAL mark is likely to cause

confusion, mistake, or deception as to the source of origin, sponsorship, or approval of AD

Management’s goods and services.

       44.     AD Management’s use of the ASPEN DENTAL mark has been the source of

actual confusion, mistake, or deception as to the source of origin, sponsorship, or approval of AD

Management’s goods and services.

       45.     Due to the confusingly similar nature of AD Cache Valley’s ASPEN DENTAL

mark and AD Management’s ASPEN DENTAL mark and the similarity of the goods and

services offered, sold, or otherwise provided under the respective marks, the relevant consuming

public and the consuming public generally are likely to believe, and have been led to believe,

that AD Management’s goods and services are those of AD Cache Valley or are in some way

connected with, licensed by, or otherwise approved by AD Cache Valley.

       46.     Such confusion, mistake, and/or deception are likely to damage and injure the

purchasing public and AD Cache Valley.

       47.     AD Management’s use of the ASPEN DENTAL mark is without the consent or

approval of AD Cache Valley.


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       48.     AD Management has had actual notice of, and has explicitly acknowledged, AD

Cache Valley’s prior rights in the ASPEN DENTAL mark in the Northern District of Utah, and

especially in Cache Valley, since at least November 13, 2012, as reflected in Exhibit F.

       49.     AD Management’s announced plans to use of the ASPEN DENTAL name and

mark to market, sell, and provide its competing dental, orthodontic, and other dentistry-related

products and services in the Northern District of Utah and in Cache Valley are knowing, willful,

intentional, and malicious.

                         FIRST CAUSE OF ACTION
              INFRINGEMENT OF COMMON LAW TRADEMARKS
          UNDER SECTION 43(A) OF THE LANHAM ACT, 15 U.S.C. § 1125(A)

       50.     AD Cache Valley repeats and incorporates by reference the allegations in

Paragraphs 1 through 48, as set forth above, as though fully set forth herein.

       51.     AD Management is marketing and has plans to sell and provide dental,

orthodontic, and other dentistry-related products and services in the Northern District of Utah

and in Cache Valley using the ASPEN DENTAL mark without the consent or authorization of

AD Cache Valley.

       52.     AD Management’s ASPEN DENTAL mark is identical and confusingly similar to

AD Cache Valley’s prior ASPEN DENTAL mark.

       53.     AD Management’s use of the ASPEN DENTAL mark is likely to confuse or

deceive, and has confused and deceived, consumers as to the affiliation, connection, or

association of AD Management with AD Cache Valley, or cause mistake, and has caused




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mistake, as to the origin, sponsorship, or approval of AD Management’s dental, orthodontic, and

other dentistry-related products and services by AD Cache Valley.

       54.     AD Management’s commercial advertising and promotion misrepresents the

geographic origin of AD Management’s goods and services as being those of AD Cache Valley.

       55.     The goodwill of AD Cache Valley’s prior ASPEN DENTAL mark is of

substantial value, and AD Cache Valley is suffering, and will continue to suffer, irreparable harm

should AD Management continue its unauthorized advertising or be permitted to open offices

and begin selling and providing goods and services in the Northern District of Utah and in Cache

Valley using the ASPEN DENTAL mark.

       56.     AD Management’s unauthorized use of the ASPEN DENTAL mark to market,

and plans to sell and provide, dental, orthodontic, and other dentistry-related products and

services is intended to, and will, divert to AD Management the benefit of the reputation and

goodwill symbolized by AD Cache Valley’s ASPEN DENTAL mark, which should rightfully

and exclusively inure to the benefit of AD Cache Valley.

       57.     AD Management’s acts constitute infringement of AD Cache Valley’s common

law trademarks under 15 U.S.C. § 1125(a).

       58.     AD Management’s unauthorized and infringing acts set forth above constitute

intentional and willful infringement of AD Cache Valley’s rights in its common law trademark.

       59.     Unless and until AD Management is enjoined by this Court, AD Management will

continue to commit acts of trademark infringement, will continue to confuse the public, and will

continue to cause irreparable harm to AD Cache Valley.


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       60.     AD Management’s acts have been, are, and will continue to be knowing,

deliberate, willful, intentional, and malicious in disregard of AD Cache Valley’s rights, entitling

AD Cache Valley to actual damages as well as reasonable attorneys’ fees under 15 U.S.C.

§ 1117.

                        SECOND CAUSE OF ACTION
           FEDERAL UNFAIR COMPETITION AND FALSE ADVERTISING
          UNDER SECTION 43(A) OF THE LANHAM ACT, 15 U.S.C. § 1125(A)

       61.     AD Cache Valley repeats and incorporates by reference the allegations in

Paragraphs 1 through 59, as set forth above, as though fully set forth herein.

       62.     AD Management’s unauthorized sales of dental, orthodontic, and other dentistry-

related products and services using the ASPEN DENTAL mark is likely to confuse or deceive,

and has confused and deceived, consumers as to the affiliation, connection, or association of AD

Management with AD Cache Valley, or cause mistake, and has caused mistake, as to the origin,

sponsorship, or approval of AD Management’s dental, orthodontic, and other dentistry-related

products and services by AD Cache Valley.

       63.     AD Management’s commercial advertising and promotion misrepresents the

geographic origin of AD Management’s goods and services as being those of AD Cache Valley.

       64.     AD Management’s misconduct constitutes false advertising and unfair

competition under 15 U.S.C. § 1125(a)(1).

       65.     AD Cache Valley believes that AD Cache Valley has been and is likely to be

damaged by AD Management’s unauthorized marketing and promotion, and any sales and




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provision, of dental, orthodontic, and other dentistry-related products and services using the

ASPEN DENTAL mark.

       66.     AD Management’s unauthorized and infringing acts set forth above have caused,

are causing, and will continue to cause irreparable harm to AD Cache Valley.

       67.     Unless and until AD Management is enjoined by this Court, AD Management will

continue to commit acts of false advertisement and unfair competition, will continue to confuse

the public, and will continue to cause irreparable harm to AD Cache Valley.

       68.     AD Management’s acts have been, are, and will continue to be knowing,

deliberate, willful, intentional, and malicious in disregard of AD Cache Valley’s rights, entitling

AD Cache Valley to actual damages as well as reasonable attorneys’ fees under 15 U.S.C.

§ 1117.

                     THIRD CAUSE OF ACTION
        DECEPTIVE TRADE PRACTICES AND FALSE ADVERTISING
UNDER UTAH CONSUMER SALES PRACTICES ACT UTAH CODE 13-11-1 ET SEQ.
   AND UTAH TRUTH IN ADVERTISING ACT UTAH CODE 13-11A-1 ET SEQ.

       69.     AD Cache Valley repeats and incorporates by reference the allegations in

Paragraphs 1 through 67, as set forth above, as though fully set forth herein.

       70.     By its unauthorized and infringing acts, AD Management is engaging in unfair

and deceptive trade practices in violation of the Utah Consumer Sales Practices Act, Utah

Code 13-11-1 et seq. Among other misconduct, AD Management’s actions have caused and are

causing confusion, likelihood of confusion, deception, and/or misunderstanding of consumers as

to the affiliation, connection, or association of AD Management with AD Cache Valley, or have




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caused and are causing mistake as to the origin, sponsorship, or approval of AD Management’s

dental, orthodontic, and other dentistry-related products and services by AD Cache Valley.

       71.     AD Management’s commercial advertising and promotion misrepresents the

geographic origin and location of AD Management’s business as being that of AD Cache Valley.

       72.     AD Management is further engaging in false advertising in violation of the Utah

Truth in Advertising Act, Utah Code 13-11a-1 et seq. Among other misconduct, AD

Management’s actions has passed off and are passing of AD Management’s goods and services

as those of AD Cache Valley, have caused and are causing confusion, likelihood of confusion,

deception, and/or misunderstanding of consumers as to the affiliation, connection, or association

of AD Management with AD Cache Valley, or have caused and are causing mistake as to the

origin, sponsorship, or approval of AD Management’s dental, orthodontic, and other dentistry-

related products and services by AD Cache Valley.

       73.     AD Management’s marketing and promotion, and any sales and provision, of

dental, orthodontic, and other dentistry-related products and services using the ASPEN

DENTAL mark has affected and continues to affect commerce, including commerce in Utah.

       74.     AD Management’s deceptive and unfair acts set forth above have caused, are

causing, and will continue to cause irreparable harm to AD Cache Valley’s business reputation

and goodwill for which there is no adequate remedy at law.

       75.     Unless and until AD Management is enjoined by this Court, AD Management will

continue to commit acts of deceptive trade practices and false advertising, will continue to

confuse the public, and will continue to cause irreparable harm to AD Cache Valley.


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       76.      AD Management’s acts have been, are, and will continue to be knowing,

deliberate, willful, intentional, and malicious in disregard of AD Cache Valley’s rights, entitling

AD Cache Valley to actual damages, corrective advertising, as well as reasonable attorneys’ fees.

                                         JURY DEMAND

       77.      Pursuant to Rule 38 of the Federal Rules of Civil Procedure, AD Cache Valley

demands a trial by jury on all matters and issues triable by a jury.

                                     PRAYER FOR RELIEF

       WHEREFORE, AD Cache Valley prays for judgment as follows on its Complaint:

       A.       That AD Management’s marketing, sales, and provision of dental, orthodontic,

and other dentistry-related products and services (and all associated services) in all forms using

the ASPEN DENTAL mark in the Northern District of Utah and in Cache Valley constitutes

trademark infringement under 15 U.S.C. § 1125(a), false advertising under 15 U.S.C. § 1125(a),

and deceptive trade practice under Utah law;

       B.       That AD Management and its owners, parent companies, subsidiary companies,

related companies, successors, assigns, officers, directors, agents, employees, attorneys, and all

persons or entities in active concert, participation, or privity with the foregoing, be preliminarily

and permanently enjoined from:

             a. Marketing, selling, or providing dental, orthodontic, and other dentistry-related

                products and services using the ASPEN DENTAL mark, including all phonetic

                equivalents, or any other names, marks, slogans, logos, designs, Internet domain

                names, or social media account names that are likely to cause confusion, mistake,



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               or deception with AD Cache Valley’s ASPEN DENTAL mark, in the Northern

               District of Utah and in Cache Valley;

            b. Otherwise acting to induce or render likely the inducement of a mistaken belief

               that AD Management and/or its goods or services are in any way affiliated with,

               connected to, associated with, or sponsored by AD Cache Valley or its goods or

               services, and otherwise acting to cause confusion or render confusion likely with

               respect to AD Cache Valley’s ASPEN DENTAL mark;

            c. Trading on the goodwill associated with AD Cache Valley’s ASPEN DENTAL

               mark and passing off AD Management’s goods or services as those of, authorized

               by, or approved by AD Cache Valley;

            d. Injuring AD Cache Valley’s business reputation or the goodwill associated with

               AD Cache Valley’s ASPEN DENTAL mark and from otherwise unfairly

               competing with AD Cache Valley in any manner whatsoever;

            e. Marketing, selling, or distributing any goods or services under a name, mark,

               brand, logo, design, symbol, Internet domain name, or social media account name

               confusingly similar to AD Cache Valley’s ASPEN DENTAL mark, including but

               not limited to displaying promotional or marketing materials on outlets such as

               websites, social media platforms, or other sources available over the Internet

               targeting the Northern District of Utah and Cache Valley;

       C.      That AD Management be ordered to deliver up for destruction all materials,

including but not limited to labels, signs, prints, packaging, wrappers, receptacles, brochures,


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advertisements, literature, promotions, displays, catalogs, products (and all plates, molds,

matrices, and other means of making the same), and all other matter in the custody or under the

control of AD Management bearing or displaying the ASPEN DENTAL mark or any

confusingly similar marks and targeting the Northern District of Utah and Cache Valley in

accordance with 15 U.S.C. § 1118;

          D.   For any domain names and social media account names in its possession or under

its control and incorporating the ASPEN DENTAL mark and targeting the Northern District of

Utah and Cache Valley, that AD Management be ordered to transfer registrations for and

ownership of the domains and social media accounts to AD Cache Valley or to terminate such

registrations and ownership;

          E.   For any Internet resources not reproducing the ASPEN DENTAL mark in the

domain name or in the account name, that AD Management be ordered to permanently remove

from all Internet resources in its possession or under its control, including websites and social

media accounts, all uses of the ASPEN DENTAL mark, including images of dental, orthodontic,

and other dentistry-related products and services bearing the ASPEN DENTAL mark, targeting

the Northern District of Utah and Cache Valley;

          F.   That AD Management be ordered to recall from all customers, vendors, sales

persons, and authorized agents all materials, including but not limited to, product packaging,

brochures, advertisements, promotions, digital files, products, and all other matter bearing and/or

displaying the ASPEN DENTAL mark and targeting the Northern District of Utah and Cache

Valley;


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       G.      That AD Management be ordered to notify all customers, vendors, sales persons,

and authorized agents of the Judgment in this case;

       H.      That AD Management be directed to provide a complete accounting to AD Cache

Valley for any and all profits realized from the sale of products or services using the ASPEN

DENTAL mark in the Northern District of Utah and in Cache Valley from the first date of use

through the date of the Judgment;

       I.      That AD Management be ordered to pay for and distribute corrective advertising

to mitigate the irreparable damage to AD Cache Valley’s reputation and goodwill;

       J.      That AD Cache Valley be awarded its actual compensatory damages and AD

Management’s profits, in an amount to be determined at trial;

       K.      That the award of damages to AD Cache Valley be trebled in view of AD

Management’s knowing, deliberate, willful, intentional, and malicious infringement of AD

Cache Valley’s rights;

       L.      That AD Cache Valley be awarded punitive damages in view of AD

Management’s knowing, deliberate, willful, intentional, and malicious infringement of AD

Cache Valley’s rights, in an amount to be determined at trial;

       M.      That the Court Declare this to be an exceptional case and that AD Cache Valley

be awarded all reasonable attorneys’ fees, costs, and disbursements incurred by AD Cache

Valley as a result of this action in accordance with 15 U.S.C. § 1117(a);

       N.      That AD Cache Valley be awarded all damages available under Utah law; and




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       O.     That AD Cache Valley be awarded any such other and further relief as this Court

deems just and proper.



       DATED this 22nd day of December, 2023.




                                                    /James C. Watson/
                                                   Glenn R. Bronson
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